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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


MATTHEW ZETTLE,                               )
Plaintiff,                                    )
                                              )
               v.                             )               No. 19 CR 3057
                                              )               Hon. Judge Guzman
FAKHOURI, ET. AL.,                            )
Defendants.                                   )


       THE PARTIES’ JOINT AND AGREED SUBMISSION OF A PROPOSED
       DISCOVERY PLAN FOR PURPOSES OF THE SEPTEMBER 4, 2019 INITIAL
       STATUS HEARING BEFORE JUDGE GUZMAN

       Plaintiff, by and through his undersigned counsel, and by agreement and on behalf of all

parties, pursuant to this Court’s Standing Order on initial status conferences, respectfully jointly

submits the following proposed joint and agreed proposed discovery plan for this matter in

anticipation of the parties’ September 4, 2019 appearance before this Court for an initial status

conference:1

       Status of Settlement Negotiations

       To-date, the parties have engaged in extensive settlement negotiations, including in-

person. These negotiations have included, but have not been limited to, the production of

documents by the Defendants, including financial records bearing upon the issue of ability to




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  The parties apologize to this Court for failing to appear before Judge Guzman on August 21,
2019. The parties mistakenly and wrongly believed that this matter would not be heard for the
initial status before Judge Guzman until the settlement conference referral had been completed.
That was error and counsel for each side accepts complete responsibility for their failure to
appear before Judge Guzman on August 21, 2019. That will not happen in this matter again.




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pay; the exchange of detailed settlement position letters; a settlement conference before

Magistrate Fuentes; and phone calls and e-mails regarding settlement. Accordingly, the parties

have met and otherwise extensively discussed the nature and basis of their claims and defenses,

and the possibilities of a prompt resolution of the case – and continue to do so. The settlement

conference held by Magistrate Fuentes on August 15, 2019 did not result in a settlement at that

time. However, in light of the fact that those negotiations are on-going, Magistrate Fuentes has

set a status hearing before him on August 29, 2019.

          Discovery Plan

          It should be noted that Defendants do not contest liability. Accordingly, fact discovery

will not be as extensive as it would have been had Defendants not taken that position in this

action.

          However, the remaining question of damages is still dependent upon fact discovery

related to treaters, as well as possible expert testimony with respect to the issue of damages.

          The parties have engaged in a meet and confer discuss for the arrangement of the

disclosures required by Rule 26(a)(1) and to develop a proposed discovery plan, which is

detailed below:

          The parties jointly propose the following deadlines for the completion of discovery:

          1) Rule 26(a)(1) disclosures to be provided by all parties on or before September 30,

             2019;

          2) The completion of all fact discovery by all parties shall be on or before June 4, 2020;

          3) Plaintiff to disclose and provided reports for any expert(s) on or before August 4,

             2020;




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       4) Defendants to disclose and provided reports for any expert(s) on or before September

           4, 2020.



                                    RESPECTFULLY SUBMITTED,


                             By:    s/Michael I. Leonard
                                    Attorney for Mr. Zettle




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                             CERTIFICATE OF SERVICE

       The undersigned states that, on August 21, 2019, he caused the above to be served on

counsel of record by way of ECF filing.



                             RESPECTFULLY SUBMITTED,


                             By:    s/Michael I. Leonard
                                      Counsel for Plaintiff




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